         Case 1:18-cv-02248-CRC Document 115 Filed 11/14/22 Page 1 of 5




                             UNITED STATES DISTRICT COURT
                             FOR THE DISTRICT OF COLUMBIA

ESTATE OF CHRISTOPHER                     )
BROOK FISHBECK, et al.,                   )
                                          )
                  Plaintiffs,             )
                                          )                 Civil Action No. 1:18-cv-2248-CRC
      v.                                  )
                                          )
THE ISLAMIC REPUBLIC OF IRAN, et al.,     )
                                          )
                  Defendants              )
__________________________________________)

                      MOTION FOR DEFAULT JUDGMENT AS TO
                     LIABILITY FOR THE BELLWETHER ATTACKS

        Plaintiffs respectfully move this Court for an entry of default judgment pursuant to Federal

Rule of Civil Procedure 55(b) against Defendants The Islamic Republic of Iran, The Islamic

Revolutionary Guard Corps, Iranian Ministry of Intelligence and Security, Bank Markazi Jomhouri

Islami Iran, Bank Melli Iran, and the National Iranian Oil Company (hereafter, “Defendants”) as

to liability with respect to the bellwether attacks presented to the Court and identified in Plaintiffs’

Proposed Findings of Fact and Conclusions of Law, filed concurrently herewith and incorporated

by reference. In support thereof, Plaintiffs state the following:

        1.      Plaintiffs’ Complaint was properly served on Defendants Bank Markazi Jomhouri

Islami Iran (“Bank Markazi”) and National Iranian Oil Company on May 29, 2019; on Defendant

Bank Melli (“Bank Melli”) Iran on May 30, 2019; and on Defendants Islamic Republic of Iran

(“Iran”), Iranian Ministry of Intelligence and Security (“MOIS”), and Islamic Revolutionary Guard

Corps (“IRGC”) on September 4, 2019. See ECF Nos. 24, 25, 26, and 36.

        2.      Bank Markazi and National Iranian Oil Company had until July 28, 2019 to file a

responsive pleading; Bank Melli had until July 29, 2019 to file a responsive pleading; and Iran,


                                             Page 1 of 5
        Case 1:18-cv-02248-CRC Document 115 Filed 11/14/22 Page 2 of 5




MOIS, and IRGC had until November 3, 2019 to file a responsive pleading. See id. Thereafter and

until the present, Defendants have failed to plead or otherwise defend this case as required by the

Federal Rules of Civil Procedure.

       3.      On August 21, 2019, the Clerk entered default as to Bank Markazi, Bank Melli, and

National Iranian Oil Company. See ECF Nos. 32, 33, and 34. On November 7, 2019, the Clerk

entered default as to Iran, MOIS, and IRGC. See ECF No. 38.

       4.      The Foreign Sovereign Immunities Act provides:

               No judgment by default shall be entered by a court of the United
               States…against a foreign state…unless the claimant establishes his
               claim or right to relief by evidence satisfactory to the court…

28 U.S.C § 1608(e).

       5.      Plaintiffs now move for default judgment as to liability pursuant to Rule 55(b)(2)

with respect to the fifteen bellwether attacks presented to the Court during the three-day hearing

on September 12, 13, and 14, 2022.

       6.      As Plaintiffs have demonstrated, Defendants provided material support to the

bellwether attacks that resulted in serious injury and death to certain Plaintiffs. Specifically,

Defendants:

               a. provided material support for bellwether attack # 1 and should be held jointly

                   and severally liable to Plaintiffs Salvador Beltran-Soto, Richard Dewayne

                   Foster, Alexander Rodriguez Bryant, Anthony Ferris, and Franklin Doss under

                   28 U.S.C. § 1605A(c);

               b. provided material support for bellwether attack # 2 and should be held jointly

                   and severally liable to Plaintiffs Estate of Dale Alan Burger, Jr., Samuel

                   Williams, Shane Kevin Housmans, Joe Sanchez, Jr., and Curtis Joseph



                                           Page 2 of 5
Case 1:18-cv-02248-CRC Document 115 Filed 11/14/22 Page 3 of 5




       Mighaccio under 28 U.S.C. § 1605A(c);

    c. provided material support for bellwether attack # 3 and should be held jointly

       and severally liable to Plaintiffs Estate of Jonathan Williams Bowling, Andrew

       Howard Rothman, and Juan Martinez Rubio under 28 U.S.C. § 1605A(c);

    d. provided material support for bellwether attack # 4 and should be held jointly

       and severally liable to Plaintiffs Estate of Robert William Briggs, Estate of

       Randy Lee Stevens, Estate of Tromaine K. Toy, and Jose Miguel Jauregui under

       28 U.S.C. § 1605A(c);

    e. provided material support for bellwether attack # 5 and should be held jointly

       and severally liable to Plaintiff Estate of Anthony Capra, Jr., under 28 U.S.C. §

       1605A(c);

    f. provided material support for bellwether attack # 6 and should be held jointly

       and severally liable to Plaintiffs Joshua Dale Coy and Estate of Adam Michael

       Malson under 28 U.S.C. § 1605A(c);

    g. provided material support for bellwether attack # 7 and should be held jointly

       and severally liable to Plaintiff Endi Cisneros Herrera under 28 U.S.C. §

       1605A(c);

    h. provided material support for bellwether attack # 8 and should be held jointly

       and severally liable to Plaintiffs Raleigh James Heekin, III, and Estate of Joshua

       Ryan Hager under 28 U.S.C. § 1605A(c);

    i. provided material support for bellwether attack # 9 and should be held jointly

       and severally liable to Plaintiff Philip Ryan Trimble under 28 U.S.C. §

       1605A(c);



                                Page 3 of 5
        Case 1:18-cv-02248-CRC Document 115 Filed 11/14/22 Page 4 of 5




               j. provided material support for bellwether attack # 10 and should be held jointly

                   and severally liable to Plaintiff Estate of Adam J. Kohlhaas under 28 U.S.C. §

                   1605A(c);

               k. provided material support for bellwether attack # 11 and should be held jointly

                   and severally liable to Plaintiff Steve Nunez under 28 U.S.C. § 1605A(c);

               l. provided material support for bellwether attack # 12 and should be held jointly

                   and severally liable to Plaintiff Estate of Taylor Prazynski under 28 U.S.C. §

                   1605A(c);

               m. provided material support for bellwether attack # 13 and should be held jointly

                   and severally liable to Plaintiff Paul Eric Haines under 28 U.S.C. § 1605A(c);

               n. provided material support for bellwether attack # 14 and should be held jointly

                   and severally liable to Plaintiffs Larry Diaz Cabral, Jr., and Robert Lee

                   McCormick under 28 U.S.C. § 1605A(c); and

               o. provided material support for bellwether attack # 15 and should be held jointly

                   and severally liable to Plaintiff Joel Tavera under 28 U.S.C. § 1605A(c).

       7.      An entry of default judgment as to liability against Defendants, together with

Plaintiffs’ proposed findings of fact and conclusions of law, can be applied by Special Masters

appointed in this case to make liability recommendations for Plaintiffs’ non-bellwether attacks, as

contemplated by the case management plan entered by the Court. See ECF No. 75.

       WHEREFORE, Plaintiffs respectfully request this Court enter an order entering default

judgment as to liability for the bellwether attacks against Defendants pursuant to Federal Rule of

Civil Procedure 55(b).




                                           Page 4 of 5
       Case 1:18-cv-02248-CRC Document 115 Filed 11/14/22 Page 5 of 5




Dated: November 14, 2022.                 Respectfully submitted,

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                                 Page 5 of 5
